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                            IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO


VICTORIA A. E.,

                  Plaintiff,

         vs.                                                               CIV NO. 1:24-cv-01237-KRS

FRANK BISIGNANO,1
Acting Commissioner of the Social Security Administration,

                  Defendant.

                                          ORDER FOR EXTENSION

         THIS MATTER coming before the Court upon Defendant’s First Unopposed Motion for

an Extension of Time (the “Motion”), (Doc. 15), it being stated that Plaintiff concurs in the

granting of the Motion, and the Court having read the Motion and being fully advised hereby

GRANTS the Motion.

         IT IS THEREFORE ORDERED that Defendant file his Answer or otherwise respond to

Plaintiff’s Complaint no later than July 7, 2025. IT IS FURTHER ORDERED that Plaintiff may

file a reply, if any, fourteen (14) days after Defendant files his brief.




                                              KEVIN R. SWEAZEA
                                              UNITED STATES MAGISTRATE JUDGE




1 Frank Bisignano became the Acting Commissioner of Social Security on May 6, 2025. Pursuant to Rule 25(d) of
the Federal Rules of Civil Procedure, Frank Bisignano should be substituted for Leland Dudek as the defendant in this
suit. No further action need be taken to continue this suit by reason of the last sentence of section 205(g) of the Social
Security Act, 42 U.S.C. § 405(g).
